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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                8:15CR321
      vs.
                                                          FINDINGS AND
JOSE ALBERTO HERNANDEZ-                                 RECOMMENDATION
ORTIZ,
                    Defendant.

      This matter is before the court on the Motion to Suppress (Filing No. 58) filed by
defendant Jose Alberto Hernandez-Ortiz (Hernandez-Ortiz).           Hernandez-Ortiz is
charged in the Indictment along with co-defendants Martin Tirado-Bojorquez, and Saray
Del Socorro-Vargas with a conspiracy to distribute and possess with intent to distribute
methamphetamine in violation of 21 U.S.C. § 846.           See Filing No. 44.   All the
defendants are also named in a Forfeiture Allegation regarding any proceeds of the
conspiracy. Id. Hernandez-Ortiz seeks to suppress evidence seized during a search of
a gold Oldsmobile Alero and Hernandez-Ortiz’s residence located at 3302 Madison
Street, Omaha, Nebraska, on August 20, 2015, and statements Hernandez-Ortiz made
to law enforcement officers after his arrest on August 20, 2015.
      The court held a hearing on the motion on January 26, 2016. Hernandez-Ortiz
was present with his counsel, Andrew J. Wilson. The United States was represented by
Assistant U.S. Attorney Nancy A. Svoboda. Laurie Garcia-Hein served as a Spanish
language interpreter.      The court heard the testimony of Homeland Security
Investigations (HSI) Special Agents Zach Wimer (Agent Wimer) and Doug Reisz (Agent
Reisz).   The court received into evidence the following exhibits:     two Search and
Seizure Warrant returns (Exhibits A and B); Application for a Search Warrant (Exhibit
C); Rights Advisement in Spanish (Exhibit D); and an English translation of Exhibit D
(Exhibit D1). A transcript (TR.) of the hearing was prepared and filed on February 1,
2016 (Filing No. 80).
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                                 FINDINGS OF FACT
      Agents Wimer, Reisz, and others have been conducting a greater than two-year
investigation into a large scale narcotics organization operating in Mexico with a strong
cell in the Omaha area (TR. 6-7, 32). The ongoing investigation, involving numerous
informants, arrestees, officers, and surveillance, revealed narcotics shipments arriving
from Mexico through California and Arizona into Omaha and currency returned to
Mexico, usually through Phoenix, Arizona (TR. 6-7, 32).       On August 20, 2015, the
investigation focused on a house located at 7639 South 41st Street in Bellevue,
Nebraska (TR. 7).    For about one and one-half months prior to that date, officers
observed several vehicles drive into the garage, stay for thirty to sixty minutes, then
leave (TR. 8). For these reasons, the officers suspected the Bellevue residence was a
“stash house” where narcotics were transferred from incoming vehicles and
redistributed to others, while currency was collected and re-routed (TR. 7-8). Tirado-
Bojorquez resided at the residence and was there on August 20, 2015 (TR. 8, 10).
      At approximately 12:36 p.m., on August 20, 2015, Del Socorro-Vargas drove her
vehicle to the Bellevue residence, drove directly into the garage, remained for thirty to
forty-five minutes, and drove away (TR. 9-10). Officers followed Del Socorro-Vargas
and, ultimately, conducted a traffic stop (TR. 10). Del Socorro-Vargas consented to a
search of her vehicle, wherein officers discovered $162,000 in U.S. currency concealed
in an after-market compartment in the vehicle’s rear bumper (TR. 10).
      Officers maintained surveillance on Tirado-Bojorquez who drove his vehicle away
from the Bellevue residence (TR. 11).       Officers easily tracked Tirado-Bojorquez’s
vehicle which was equipped with a court-authorized tracking device (TR. 11). Officers
conducted a traffic stop of Tirado-Bojorquez’s vehicle (TR. 11). The officers located
$10,000 in U.S. currency concealed in a fruit snack container during a search of Tirado-
Bojorquez’s vehicle (TR. 12).     The officers located an additional $25,000 in U.S.
currency and materials used to wrap currency and narcotics in the Bellevue residence
(TR. 12-13). At approximately 4:00 p.m., Tirado-Bojorquez provided information to the
officers about a member of the organization named “Jose Ortiz” who was responsible
for narcotics distribution in Omaha (TR. 12-13). Tirado-Bojorquez explained Jose Ortiz
would collect narcotics sales proceeds and return them to Tirado-Bojorquez, who would

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place them in vehicles returning west (TR. 13). Tirado-Bojorquez said he thought Jose
Ortiz still had five pounds of methamphetamine at his house, the location of which
Tirado-Bojorquez did not know (TR. 14). Tirado-Bojorquez did provide Jose Ortiz’s
cellular telephone number and a description of his vehicle, a gold Oldsmobile Alero, to
the officers (TR. 15).
       The officers’ investigation partially confirmed Tirado-Bojorquez’s information.
The officers had previously observed the gold Oldsmobile Alero at the Bellevue
residence and had its license plate number (TR. 15). The officers later worked with a
cellular telephone provider to obtain tracking information about the cellular telephone
number (TR. 15-17). The officers tracked the cellular telephone to a residence at 3302
Madison Street, Omaha, Nebraska (TR. 17).         The officers set up surveillance and
observed a gold Oldsmobile Alero parked in the open garage (TR. 17). Within forty-five
minutes the officers watched a man leave the residence in the gold Oldsmobile Alero
(TR. 17-18). Agent Wimer followed the gold Oldsmobile Alero to a shopping plaza
where the man exited the vehicle and entered a store that sold cellular telephones (TR.
18).
       At approximately 6:00 p.m., on August 20, 2015, Agent Wimer observed
Hernandez-Ortiz exit a cellular telephone store with a bag containing a new cellular
telephone (TR. 7, 18, 22). As Hernandez-Ortiz returned to the gold Oldsmobile Alero,
Agent Wimer approached (TR. 19). Agent Wimer, wearing jeans and a t-shirt with his
HSI chain badge exposed, spoke to Hernandez-Ortiz using limited Spanish by asking if
he “had any papers” (TR. 19, 26). Hernandez-Ortiz responded, “no” (TR. 20). Agent
Wimer placed Hernandez-Ortiz in handcuffs and moved him to an unmarked police
vehicle in the back parking lot of the shopping plaza (TR. 20-21).
       Agent Reisz arrived to speak to Hernandez-Ortiz in Spanish (TR. 34). Agent
Reisz approached Hernandez-Ortiz who was seated in the passenger seat of an
unmarked Nebraska State Patrol (NSP) truck (TR. 40).          An NSP officer sat in the
driver’s seat and took notes during the interview as Agent Reisz translated the
conversation from Spanish to English (TR. 40-41). Agent Reisz introduced himself to
Hernandez-Ortiz and explained he was an HSI agent who arrived because the other
officers were having difficulty communicating with Hernandez-Ortiz and there may be an

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issue with his immigration status (TR. 34-35). Hernandez-Ortiz stated he understood
the officers wanted to ask him some questions and he said, “yes” he was willing to
answer some questions (TR. 35). Agent Reisz presented a rights advisory form to
Hernandez-Ortiz and watched Hernandez-Ortiz initial each one as he read them (TR.
35-37, 42-43; Exhibit D).    Agent Reisz interviewed Hernandez-Ortiz for five to ten
minutes until Hernandez-Ortiz stated he did not want to answer any more questions
(TR. 37).


                                   LEGAL ANALYSIS
      Hernandez-Ortiz seeks to suppress evidence seized during the searches of his
vehicle and residence and any statements he made after his arrest on August 20, 2015.
Hernandez-Ortiz argues officers conducted his initial warrantless detention without
reasonable suspicion and his arrest without probable cause. See Filing No. 58 - Motion.
Hernandez-Ortiz further argues the statements he made to officers were fruits of his
unlawful detention and arrest.     Id.   Finally, Hernandez-Ortiz contends the search
warrants issued for his vehicle and residence were invalid as lacking sufficient factual
basis to demonstrate probable cause to believe evidence of a crime would be located
there. Id.


A.    Initial Detention and Arrest
      “Determining which police-citizen contacts fall within the protections of the Fourth
Amendment and which do not is fact intensive and turns on the unique facts of each
case.” United States v. Griffith, 533 F.3d 979, 983 (8th Cir. 2008). When evaluating
“each case to see whether the detaining officer has a ‘particularized and objective basis’
for suspecting legal wrongdoing” the court “allows officers to draw on their own
experience and specialized training to make inferences from and deductions about the
cumulative information available to them that ‘might well elude an untrained person.’”
United States v. Arvizu, 534 U.S. 266, 273-74 (2002) (quoting United States v.
Cortez, 449 U.S. 411, 417-18 (1981)); see also United States v. Stewart, 631 F.3d
453, 457 (8th Cir. 2011).   The court gives law enforcement officers “substantial latitude
in interpreting and drawing inferences from factual circumstances.” United States v.

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Winarske, 715 F.3d 1063, 1067 (8th Cir. 2013). This is because “the police possess
specialized law enforcement experience and thus may ‘draw reasonable inferences of
criminal activity from circumstances which the general public may find innocuous.’”
United States v. Mendoza, 421 F.3d 663, 667 (8th Cir. 2005). Accordingly, “[w]hether
[the officers’] suspicions are reasonable is assessed from the point of view of trained
law enforcement officers based on the totality of the circumstances known to the officers
at the relevant time.” United States v. Zamora-Lopez, 685 F.3d 787, 790 (8th Cir.
2012). Moreover, the circumstances known to one officer may be imputed to other
officers if they are working together on an investigation and “some degree of
communication exists between them.” United States v. Robinson, 664 F.3d 701, 703
(8th Cir. 2011). Under these circumstances, the officers’ “collective knowledge” forms
the basis of the acting officer’s reasonable suspicion or probable cause. Id. at 703-04.
An officer may become a member of an investigation team when he is instructed to
conduct a traffic stop even if he does not possess “all the relevant collective knowledge
of the team.” Id. at 704; see also United States v. Maltais, 403 F.3d 550, 555 (8th Cir.
2005).
         The government has the burden to prove justification existed for any restraint on
the defendant. See Missouri v. Seibert, 542 U.S. 600, 608 n.1 (2004); United States
v. Escobar, 389 F.3d 781, 785 (8th Cir. 2004). One type of encounter between the
police and a citizen is an investigative detention, which is a seizure of limited scope and
duration within the meaning of the Fourth Amendment and must be supported by a
reasonable articulable suspicion of criminal activity.      See, e.g., United States v.
Sokolow, 490 U.S. 1 (1989); Williams v. Decker, 767 F.3d 734, 739 (8th Cir. 2014).
“An officer is allowed to stop and briefly detain a person for investigative purposes if the
officer has a reasonable suspicion supported by articulable facts that criminal activity
may be afoot.” United States v. Saenz, 474 F.3d 1132, 1136 (8th Cir. 2007) (citing
Terry, 392 U.S. at 30).      “In making reasonable-suspicion determinations, reviewing
courts must look at the ‘totality of the circumstances’ of each case to see whether the
detaining officer has a ‘particularized and objective basis’ for suspecting legal
wrongdoing.” United States v. Martinez-Cortes, 566 F.3d 767, 769 (8th Cir. 2009)
(internal quotation and citation omitted). “Reasonable suspicion must be supported by

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‘specific and articulable facts.’” United States v. Hughes, 517 F.3d 1013, 1016 (8th
Cir. 2008) (citing Terry, 392 U.S. at 21). “Reasonable suspicion is a lower threshold
than probable cause, and it requires considerably less than proof of wrongdoing by a
preponderance of the evidence.” Williams, 767 F.3d at 739. “Though each factor
giving rise to suspicion might appear to be innocent when viewed alone, a combination
of factors may warrant further investigation when viewed in its totality.” United States
v. Morgan, 270 F.3d 625, 631 (8th Cir. 2001); see also United States v. Gannon, 531
F.3d 657, 661 (8th Cir. 2008). Information from confidential informants and surveillance
related to controlled buys, even tangentially related to a suspect, may justify an
investigatory stop.   See United States v. Briley, 319 F.3d at 364 (8th Cir. 2003)
(finding probable cause for investigatory stop where confidential informant supplied
information of suspect’s drug distribution); United States v. Hughes, 15 F.3d 798, 801-
02 (8th Cir. 1994) (concluding a prior controlled buy, confidential informant’s
identification of suspect’s vehicle, and confidential informant’s statement that suspect
possessed crack cocaine justified investigatory stop of suspect’s vehicle).
       “There is no clear line between investigative stops and de facto arrests.” United
States v. Sanford, No. 15-1501, 2016 WL 612070, at *3 (8th Cir. Feb. 16, 2016) (slip
op.). “Probable cause for an arrest exists when, considering all the circumstances,
police have trustworthy information that would lead a prudent person to believe that the
suspect has committed or is committing a crime.” United States v. Roberts, 787 F.3d
1204, 1210 (8th Cir. 2015) (internal quotation and citation omitted). “Arresting officers
are not required to witness actual criminal activity or have collected enough evidence so
as to justify a conviction for there to be a legitimate finding of probable cause to justify a
warrantless arrest.” Winarske, 715 F.3d at 1067. “A probability or substantial chance
of criminal activity, rather than an actual showing of criminal activity is sufficient.”
United States v. Smith, 715 F.3d 1110, 1115 (8th Cir. 2013).
       The officers were part of an ongoing narcotics investigation, which combined with
their observations of unusual traffic patterns at the Bellevue residence over the course
of more than one month, led them to reasonably believe the residence was a stash
house. The observations included witnessing (1) Del Socorro-Vargas’ vehicle arrive,
park in the garage for thirty to forty-five minutes and leave, after which the vehicle was

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found to conceal a large amount of U.S. currency, and (2) a distinctive gold Oldsmobile
Alero conforming to the unusual traffic pattern. Additionally, the officers learned from
Tirado-Bojorquez, who resided in the Bellevue residence, that a man named Ortiz, who
drove a gold Oldsmobile Alero, was involved in the narcotics activities and had a
specific amount of methamphetamine based on a conversation between Tirado-
Bojorquez and Ortiz that day.      Tirado-Bojorquez provided Ortiz’s cellular telephone
number which the officers traced to a residence with a gold Oldsmobile Alero parked in
the garage; the same gold Oldsmobile Alero previously seen at the Bellevue residence.
After successfully tracing the cellular telephone, the officers followed the Alero to a store
where Hernandez-Ortiz could purchase a cellular telephone. These events show that
not only did the officers have reasonable suspicion to stop and detain Hernandez-Ortiz,
the officers possessed sufficient probable cause to arrest him. Accordingly, Hernandez-
Ortiz’s motion to suppress evidence based on an unlawful detention or arrest should be
denied.


B.     Statements
       The exclusionary rule prohibits the admission of evidence unconstitutionally
obtained. Weeks v. United States, 232 U.S. 383 (1914). The rule also applies to
evidence, tangible and testimonial, which was derived, directly or indirectly, from the
unconstitutionally obtained evidence, i.e., the “fruit of the poisonous tree.” Wong Sun
v. United States, 371 U.S. 471, 487 (1963); Nardone v. United States, 308 U.S. 338
(1939); Silverthorne Lumber Co. v. United States, 251 U.S. 385 (1920). Having
found Hernandez-Ortiz’s detention and arrest were constitutionally permissible, the
court finds Hernandez-Ortiz’s statements were not tainted by any “poisonous tree” as
claimed by Hernandez-Ortiz under Wong Sun.           Hernandez-Ortiz does not assert any
other constitutionally infirm conduct rendered his statements involuntary. Similarly, no
evidence suggests Hernandez-Ortiz made any involuntary statements. For the reasons
stated above, Hernandez-Ortiz’s motion to suppress his statements should be denied.




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C.    Search Warrants
      An affidavit for a search warrant must contain probable cause of four ingredients:
time, crime, objects, and place. 2 Wayne R. LaFave, Search & Seizure § 3.7(d) at 412
(4th ed. 2004).    When reviewing the sufficiency of an affidavit “[a] totality of the
circumstances test is used to determine whether probable cause exists. Courts should
apply a common sense approach and, considering all relevant circumstances,
determine whether probable cause exists.” United States v. Hager, 710 F.3d 830, 836
(8th Cir. 2013) (noting “judges may draw reasonable inferences” from the relevant
circumstances); see United States v. O’Dell, 766 F.3d 870, 873 (8th Cir. 2014).
“Probable cause is established when there is a fair probability that the object of the
search warrant may be found in the place to be searched.” United States v. Romo-
Corrales, 592 F.3d 915, 919 (8th Cir. 2010) (internal quotation omitted). When relying
on an affidavit to establish probable cause, “the probable cause determination must be
based upon only that information which is found within the four corners of the affidavit.”
United States v. Stults, 575 F.3d 834, 843 (8th Cir. 2009).
      The court has carefully reviewed the application for the search warrants for
Hernandez-Ortiz’s vehicle and residence.        See Exhibit C. The application provides
essentially the same information contained in this court’s factual findings.          The
information contained in the affidavit provided sufficient probable cause to issue the
warrants to search the vehicle and residence. Specifically, the officers had information
Hernandez-Ortiz, in his vehicle, had visited Tirado-Bojorquez at the stash house earlier
in the day and Hernandez-Ortiz still had at least five pounds of methamphetamine at his
residence. The officers located Hernandez-Ortiz and the residence within hours and
observed Hernandez-Ortiz with the vehicle at the residence. The officers relied on
information provided by a named suspected co-conspirator and did not rely on a
confidential informant. Nevertheless, the officers corroborated the information they had
gathered throughout their investigation with that provided by Tirado-Bojorquez.
Accordingly, the information contained in the application suggested a fair probability that
contraband or evidence of a crime would be found in either Hernandez-Ortiz’s vehicle or
residence, or both. Therefore,



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       IT IS RECOMMENDED TO CHIEF JUDGE LAURIE SMITH CAMP that:
       Jose Alberto Hernandez-Ortiz Motion to Suppress (Filing No. 58) be denied.


                                       ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Order and Findings and
Recommendation shall be filed with the Clerk of the Court within fourteen (14) days
after being served with a copy of this Order and Findings and Recommendation.
Failure to timely object may constitute a waiver of any such objection. The brief in
support of any objection shall be filed at the time of filing such objection. Failure to file a
brief in support of any objection may be deemed an abandonment of the objection.


       Dated this 8th day of March, 2016.

                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge




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